                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION



 L.W., by and through her parents and next friends,   )
 Samantha Williams and Brian Williams, et al.         )
                                                      )
          Plaintiffs,                                 )
                                                      )               No. 3:23-cv-00376
 v.                                                   )               JUDGE RICHARDSON
                                                      )               JUDGE NEWBERN
 JONATHAN SKRMETTI, in his official capacity          )
 as the Tennessee Attorney General and Reporter, et   )
 al.,                                                 )
                                                      )
          Defendants.                                 )



  DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL UNREDACTED
 EXHIBIT IN SUPPORT OF THEIR RESPONSE IN OPPOSITION TO PLAINTIFFS’
                MOTION FOR PRELIMINARY INJUCTION

         Defendants Jonathan Skrmetti, in his official capacity as Tennessee Attorney General and

Reporter, Tennessee Department of Health (“TDH”), Ralph Alvarado, in his official capacity as

Commissioner of TDH, Tennessee Board of Medical Examiners (“BME”), Melanie Blake, in her

official capacity as President of BME, Stephen Lloyd, in his official capacity as Vice President of BME,

Randall E. Pearson, Phyllis E. Miller, Samantha McLerran, Keith G. Anderson, Deborah Christiansen,

John W. Hale, John J. McGraw, Robert Ellis, James Diaz-Barriga, and Jennifer Claxton, all in their

official capacities as members of BME, and Logan Grant, in his official capacity as Executive Director

of the Tennessee Health Facilities Commission (collectively “Defendants”), by and through counsel,

move under Local Rule 5.03 to file under seal an unredacted version of Exhibit 7 offered in support

of their Response in Opposition to Plaintiffs’ Motion for Preliminary Injunction.

         The Expert Declaration of Michael K. Laidlaw, M.D. (Exhibit 7) includes an analysis of

Plaintiffs’ medical information. Pursuant to the Protective Order entered in this matter, Plaintiffs’



      Case 3:23-cv-00376 Document 114 Filed 05/19/23 Page 1 of 5 PageID #: 2092
medical information is confidential information that must be filed under seal. (ECF No. 87, ¶ 16.)

Pursuant to Local Rule 5.03, Defendants provide notice that filing a public, unredacted version of this

exhibit is impracticable as it would violate the Protective Order in this case. Defendants have filed a

redacted version of Exhibit 7 on the docket that shields public view of those portions of the exhibit

that contain confidential information.

        For the reasons stated, Defendants respectfully request that this motion be granted and that

an unredacted version of Exhibit 7 be formally filed under seal and considered in support of their

Response in Opposition to Plaintiffs’ Motion for Preliminary Injunction.




 Dated: May 19, 2023                              Respectfully submitted,


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   Case 3:23-cv-00376 Document 114 Filed 05/19/23 Page 2 of 5 PageID #: 2093
                                 CERTIFICATE OF SERVICE

I hereby certify that on May 19, 2023, the undersigned filed the foregoing document via this
Court’s electronic filing system, which sent notice of such filing to the following counsel of record:

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   Case 3:23-cv-00376 Document 114 Filed 05/19/23 Page 3 of 5 PageID #: 2094
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 Case 3:23-cv-00376 Document 114 Filed 05/19/23 Page 5 of 5 PageID #: 2096
